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Marc D. Fink (MN License No. 0343407)
Center for Biological Diversity
209 East 7th Street
Duluth, Minnesota 55805
Tel: 218-464-0539
mfink@biologicaldiversity.org

Attorney for Plaintiffs

                          IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF MINNESOTA

CENTER FOR BIOLOGICAL DIVERSITY;             )
EARTHWORKS; and SAVE OUR SKY                 )      Civ. No. 17-cv-00914
BLUE WATERS,                                 )
                                             )
     Plaintiffs,                             )      CORPORATE DISCLOSURE
                                             )      STATEMENT
v.                                           )
                                             )
RYAN ZINKE, in his official capacity as U.S. )
Secretary of the Interior;                   )
U.S. FISH AND WILDLIFE SERVICE;              )
THOMAS L. TIDWELL, in his official capacity )
as Chief of the U.S. Forest Service; and     )
U.S. FOREST SERVICE,                         )
                                             )
       Defendants.                           )
______________________________________ )

     Pursuant to Federal Rule of Civil Procedure 7.1, Plaintiffs Center for Biological Diversity,

Earthworks, and Save Our Sky Blue Waters are each 501(c)(3) organizations that have no parent

corporations, have no stock, and there is no publicly held corporation that owns any stock in

these organizations.

       Dated: March 28, 2017.                Respectfully submitted,

                                             /s/ Marc D. Fink
                                             MARC D. FINK (MN License No. 0343407)
                                             Center for Biological Diversity
                                             209 East 7th St.
                                             Duluth, Minnesota 55805
                                             Tel: (218) 464-0539



COMPLAINT                                                                                 1
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                           mfink@biologicaldiversity.org

                           Attorney for Plaintiffs




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